Case 6:20-cv-00180-JDK Document 65-1 Filed 01/27/21 Page 1 of 7 PageID #: 2320




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION

 NOVEDEA SYS., INC. and ANAND                     §
 DASARI                                           §
     Plaintiffs,                                  §
                                                  §
 v.                                               §       CIVIL ACTION NO.: 6:20-cv-180
                                                  §
 COLABERRY, INC. and RAM                          §       JURY TRIAL DEMANDED
 KATAMARAJA                                       §
     Defendants.                                  §
                                                  §
                                                  §
                                                  §
                                                  §


                AFFIDAVIT OF RAM KATAMARAJA IN SUPPORT OF
              PARTIAL MOTION FOR SUMMARY JUDGMENT AGAINST
               NOVEDEA SYSTEMS, INC. FOR LACK OF AUTHORITY
                      TO FILE AND PROSECUTE THIS CASE

STATE OF MASSACHUSETTS                        §
                                              §
COUNTY OF MIDDLESEX                           §

       1.      My name is Ram Katamaraja. I am over the age of 21 and competent to make this

Affidavit. All of the statements herein are true and accurate and based on my personal knowledge.

And, I have personal knowledge of the facts stated in the attached documents herein, which were

created by or sent to me at or near the time of the date on the document.

       2.      I am also making statements herein in my capacity as shareholder, Director, and

officer of Plaintiff Novedea Systems, Inc. (“Novedea”).

       3.      I currently reside at 5 Nickerson Rd, Lexington MA 02421.

       4.      In the course of my regular business activities as an officer and Director of

Colaberry or Novedea, I routinely receive various correspondence and documentation related to


 AFFIDAVIT OF RAM KATAMARAJA                                                              PAGE 1
Case 6:20-cv-00180-JDK Document 65-1 Filed 01/27/21 Page 2 of 7 PageID #: 2321




company affairs. It is my regular practice to save, store, and keep correspondence, emails, text

messages, and documents on or near the time they were received from or sent to me by various

individuals and entities related to Colaberry or Novedea business. The documents attached hereto

are the original or exact duplicates of the original

        5.     I am also a custodian of the records of Colaberry, Inc. and Novedea Systems, Inc.

Attached hereto are documents that are business records from Colaberry or Novedea. These

documents are kept by myself or by other corporate officers, employees, or contractors of

Colaberry or Novedea in the regular course of these entities’ business, and it was the regular course

of each business (Colaberry and Novedea) for an employee or representative thereto with

knowledge of the act, event, condition, opinion, or diagnosis, recorded to make the record or to

transmit information thereof to be included in such record; and the record was made at or near the

time or reasonably soon thereafter. The records hereto are the original or exact duplicates of the

original.

        6.     I am the President, Chief Executive Officer, and sole director of Novedea Systems,

Inc. (“Novedea”). I am submitting this Affidavit in support of my Partial Motion for Summary

Judgment Against Novedea Systems, Inc. for Lack of Authority to File and Prosecute This Case

(“Motion for Summary Judgment”), which is being filed contemporaneously with this Affidavit.

        7.     I have been Novedea’s sole director since February 27, 2012.

        8.     Novedea has not elected or qualified another director since I became its sole

director.

        9.     I have been listed as Novedea’s only director in every corporate filing that I am

aware of that Novedea has made from February 27, 2012 through the present.




 AFFIDAVIT OF RAM KATAMARAJA                                                                  PAGE 2
Case 6:20-cv-00180-JDK Document 65-1 Filed 01/27/21 Page 3 of 7 PageID #: 2322




        10.    It is my understanding that Anand Dasari (“Dasari”) entered into an engagement

agreement with Ryan Botkin and John D. Saba, Jr. on behalf of Novedea Systems, Inc.

(“Novedea”) on or before April 6, 2020.

        11.    Prior to that, Ryan Botkin and his law firm were representing Dasari in the

negotiations between myself and Dasari to buy out shares of Novedea and Colaberry.

        12.    Dasari did not seek or receive my approval to hire Ryan Botkin and John D. Saba,

Jr. on behalf of Novedea.

        13.    Novedea’s board of directors never authorized the hiring of Ryan Botkin and John

D. Saba, Jr. to represent Novedea.

        14.    Dasari did not seek or receive my approval before directing Ryan Botkin and John

D. Saba, Jr. to file this lawsuit on Novedea’s behalf.

        15.    Novedea’s board of directors never authorized the filing of this lawsuit.

        16.    On or around May 16, 2020, Dasari engaged Gene Hamm II, John P. Martin, and

The Hamm Firm to represent Novedea in this lawsuit.

        17.    Dasari did not seek or receive my approval to hire Gene Hamm II, John P. Martin,

and The Hamm Firm on behalf of Novedea

        18.    Novedea’s board of directors never authorized the hiring of Gene Hamm II, John

P. Martin, and The Hamm Firm to represent Novedea.

        19.    Furthermore, Dasari was removed as an officer of Novedea by Board resolution on

April 27, 2020.

        20.    Novedea’s board of directors does not want to continue to pursue any claims in this

case.




 AFFIDAVIT OF RAM KATAMARAJA                                                               PAGE 3
Case 6:20-cv-00180-JDK Document 65-1 Filed 01/27/21 Page 4 of 7 PageID #: 2323




       21.    A true and correct copy of the Articles of Incorporation of Novedea Systems, Inc.

that was filed on May 26, 2005 is being filed as Exhibit A to my Motion for Summary Judgment.

       22.    A true and correct copy of the Certificate of Incorporation of Novedea Systems,

Inc. dated May 26, 2005 is being filed as Exhibit B to my Motion for Summary Judgment.

       23.    A true and correct copy of the Novedea Systems, Inc.’s 2009 U.S. Corporation

Income Tax Return is being filed as Exhibit C to my Motion for Summary Judgment. This

document contains redactions.

       24.    A true and correct copy of the Novedea Systems, Inc.’s 2010 U.S. Corporation

Income Tax Return is being filed as Exhibit D to my Motion for Summary Judgment. This

document contains redactions.

       25.    A true and correct copy of the Novedea Systems, Inc.’s 2011 U.S. Corporation

Income Tax Return is being filed as Exhibit E to my Motion for Summary Judgment. This

document contains redactions.

       26.    A true and correct copy of the Stock Purchase Agreement between myself, Srihari

Govindarajan, and Manjula Dasyamis dated February 27, 2012 is being filed as Exhibit F to my

Motion for Summary Judgment.

       27.    A true and correct copy of the Minutes of the Organizational Meeting of the Board

of Directors of Novedea Systems, Inc. a For-Profit Corporation dated February 27, 2012 is being

filed as Exhibit G to my Motion for Summary Judgment.

       28.    A true and correct copy of the Settlement Agreement and Release between myself,

Ananda Dasari, Novedea, Srihari Govindarajan, and Manjula Dasyamis dated February 27, 2012

is being filed as Exhibit H to my Motion for Summary Judgment.




 AFFIDAVIT OF RAM KATAMARAJA                                                             PAGE 4
Case 6:20-cv-00180-JDK Document 65-1 Filed 01/27/21 Page 5 of 7 PageID #: 2324




       29.    A true and correct copy of the Certificate of Amendment that Novedea filed on

March 14, 2012 is being filed as Exhibit I to my Motion for Summary Judgment.

       30.    A true and correct copy of the Texas Franchise Tax Public Information Report that

Novedea filed on March 15, 2012 is being filed as Exhibit J to my Motion for Summary Judgment.

       31.    A true and correct copy of the Texas Franchise Tax Public Information Report that

Novedea filed on August 6, 2013 is being filed as Exhibit K to my Motion for Summary Judgment.

       32.    A true and correct copy of the Texas Franchise Tax Public Information Report that

Novedea filed on November 17, 2014 is being filed as Exhibit L to my Motion for Summary

Judgment.

       33.    A true and correct copy of the Texas Franchise Tax Public Information Report that

Novedea filed on September 17, 2015 is being filed as Exhibit M to my Motion for Summary

Judgment.

       34.    A true and correct copy of the Texas Franchise Tax Public Information Report that

Novedea filed on November 10, 2016 is being filed as Exhibit N to my Motion for Summary

Judgment.

       35.    A true and correct copy of the Texas Franchise Tax Public Information Report that

Novedea filed on November 14, 2018 is being filed as Exhibit O to my Motion for Summary

Judgment.

       36.    A true and correct copy of the Texas Franchise Tax Public Information Report that

Novedea filed on November 13, 2019 is being filed as Exhibit P to my Motion for Summary

Judgment.




 AFFIDAVIT OF RAM KATAMARAJA                                                            PAGE 5
Case 6:20-cv-00180-JDK Document 65-1 Filed 01/27/21 Page 6 of 7 PageID #: 2325




       37.    A true and correct copy of a screenshot of the Texas Secretary of State Business

Organizations Inquiry for Novedea that was captured on January 13, 2021 is being filed as Exhibit

Q to my Motion for Summary Judgment.

       38.    A true and correct copy of the Written Consent of the Board of Directors of

Novedea Systems, Inc. dated January 26, 2021 is being filed as Exhibit R to my Motion for

Summary Judgment.

   39. Under penalty of perjury, I attest all of the statements made herein are true and accurate.




                                     **Signature Page Follows**




 AFFIDAVIT OF RAM KATAMARAJA                                                                 PAGE 6
Case 6:20-cv-00180-JDK Document 65-1 Filed 01/27/21 Page 7 of 7 PageID #: 2326
